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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

          Plaintiff,
v.

ILENE MOSES,                                              Case No. 96-80274

          Defendant.                                      Honorable Patrick J. Duggan
                                            /

                       ORDER DENYING DEFENDANT’S MOTION
                          FOR RELEASE PENDING APPEAL

                           At a session of said Court, held in the U.S.
                              District Courthouse, Eastern District
                                of Michigan, on August 15, 2007.

                   PRESENT: THE HONORABLE PATRICK J. DUGGAN
                            U.S. DISTRICT COURT JUDGE

       Presently before the Court is Defendant Ilene Moses’ Motion for Release Pending

Appeal pursuant to 18 U.S.C. § 3143(b). 18 U.S.C. § 3143(b) provides for release pending

appeal of a person who has been found guilty and sentenced to a term of imprisonment if the

Court finds:

       (A)     by clear and convincing evidence that the person is not likely to flee
               or pose danger to the safety of any other person or the community
               if released under section 3142(b)(c) of this title; and

       (B)     that the appeal is not for the purpose of delay and raises a
               substantial question of law or fact likely to result in -

               (i) reversal,
               (ii) an order for a new trial . . .

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     Defendant’s motion must be denied. The Court is not persuaded that the appeal raises

a substantial question of law or fact likely to result in a reversal or an order for a new trial.

     SO ORDERED.



                                     s/PATRICK J. DUGGAN
                                     UNITED STATES DISTRICT JUDGE

Copies to:

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